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  November 1, 2024

  VIA ECF

  Honorable Cathy L. Waldor, U.S.M.J.
  United States District Court
  District of New Jersey
  Martin Luther King Building & U.S. Courthouse
  50 Walnut Street
  Newark, New Jersey 07102

  Re: In re Selenious Acid Litigation, C.A. No. 24-cv-7791 (BRM)(CLW) (consolidated)

  Dear Judge Waldor:

          Pursuant to Paragraph 7 of the Court’s Civil Case Management Order, Plaintiff American
  Regent, Inc. (“ARI”) and Defendants in the above-captioned matters submit this joint letter seeking
  resolution of the parties’ dispute regarding a Pretrial Scheduling Order.

                                                        *    *      *

  I.         Efforts to Resolve the Dispute

                  a. ARI’s Position

          On August 29, 2024, ARI sent an email to each Defendant notifying them that ARI would
  be seeking an expedited schedule in these actions due to, inter alia, uncertainty over whether or
  not there is a 30-month stay of FDA approval for the ANDAs at issue. See, e.g., Ex. A (Aug. 29,
  2024 Email from R. Conkin to K. Mathas). ARI included its proposed schedule and requested
  feedback on the schedule by September 3, 2024. ARI received Defendants’ proposed schedule on
  September 20, 2024. ARI informed Defendants that their proposed schedule is not feasible given
  the current posture of these matters and the lack of a 30-month stay. ARI subsequently requested
  that the parties meet and confer so that ARI could seek relief from the Court. See Ex. B (Sept. 25,
  2024 Email from R. Conkin to M. Stubbings). ARI additionally informed Defendants that it
  intended to modify its proposed schedule to include deadlines related to potential preliminary
  injunction briefing. Id. The parties met and conferred on September 26, 2024, where Defendants
  stated they would not agree to an expedited schedule or ARI’s additions regarding preliminary
  injunction briefing. Thus, the parties are at an impasse. ARI’s and Defendants’ proposed schedule
  is attached to this letter as Exhibit C.




  Newark New York Trenton Philadelphia Wilmington                                      gibbonslaw.com
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          By agreement of the parties, ARI served its disclosure of asserted claims regarding the ’565
  patent pursuant to L. Pat. R. 3.6(b) on October 14, 2024. Moreover, the parties exchanged initial
  disclosures pursuant to Fed. R. Civ. P. 26(a)(1) on October 18, 2024.1

              b. Defendants’ Position

           Although ARI accuses Defendants of delaying negotiations related to ARI’s unnecessarily
  quick schedule, ARI itself has moved with a lack of urgency. Specifically, ARI provided its initial
  draft of this joint letter to Defendants on October 8, 2024—nearly two weeks after the parties met
  and conferred—along with a revised version of its proposed schedule. Then, on October 11, 2024,
  ARI notified Defendants of a notice of allowance for yet another patent that may impact this
  litigation, despite receiving the initial notice of allowance for this same patent on September 5,
  2024, before the application published on September 26, 2024. 2 At that time, ARI asked
  Defendants to stipulate to the filing of an amended complaint adding that patent and explained
  they would follow up with a second revised schedule. ARI did not send its second revision until
  October 18, 2024. Regardless, that revised schedule would have this Court and the parties trying
  two patents—one of which is already asserted in an earlier case and the second of which the PTO
  has not yet even issued—in less than a year. In contrast, and as explained below, Defendants’
  proposed schedule conserves judicial resources to avoid duplicative trials on identical patents
  across this case and co-pending litigation related to Tralement® and Multrys®. See Section III.

  II.    ARI’s Position

         A.      An expedited schedule is warranted

          An expedited schedule is warranted for these matters primarily because the vast majority
  of Defendants are not subject to a 30-month stay of FDA approval. The lack of a 30-month stay
  stems from the fact that the Asserted Patent did not list in the Orange Book until after most
  Defendants filed their ANDAs. Since there is no 30-month stay for most of the Defendants, it
  raises the possibility that one or more Defendant will commercially launch the accused ANDA
  product “at-risk” prior to a decision from this Court and immediately upon FDA approval, which
  1
    ARI and Fresenius Kabi USA, LLC (“Fresenius”) have not exchanged initial disclosures pursuant
  to Fed. R. Civ. P. 26(a)(1) based, in part, on Fresenius’s pending pre-motion letter and the parties’
  ongoing discussions.
  2
    Between the initial Notice of Allowance sent on September 5 and the October 9 Notice of
  Allowance, the only thing that occurred was that Plaintiff filed an Information Disclosure
  Statement (“IDS”) attaching more than 20 new references without any explanation of why these
  references were being presented at all, much less explaining why they were only being presented
  after the initial Notice of Allowance. Approximately a week after the IDS was filed, the Examiner
  provided a Second Notice of Allowance without specific comment on any of the newly disclosed
  references, other than to sign off on the IDS.
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  may happen at any time.3 In fact, some Defendants have openly stated that they intend to launch
  at risk and/or will not provide 60-day notice prior to any at-risk launch. Thus, absent some
  agreement by Defendants not to commence their pre-market activities and not to launch pending
  a resolution of these actions via an expedited trial schedule or otherwise, ARI will need to seek a
  preliminary injunction against all Defendants that are not subject to a 30-month stay in sufficient
  time to prevent what will, no doubt, be significant and irreparable harm.

          Recognizing the burden such a motion would place on the Court and the parties, ARI
  proposed a schedule based on an expedited schedule previously entered by Your Honor in a case
  with similar positioning. See Sumitomo Dainippon Pharma Co., Ltd. v. Emcure Pharms. Ltd., C.A.
  No. 18-cv-02065, ECF No. 25 (D.N.J. Apr. 19, 2018). However, after much delay, Defendants
  proposed a prolonged schedule that guarantees that the parties will need to burden the Court with
  extensive preliminary injunction motion practice as to many Defendants. ARI’s expedited
  schedule seeks to avoid, or at least minimize, the number of preliminary injunction motions this
  Court will need to hear and provide deadlines for an orderly briefing schedule for those motions.
  On the other hand, Defendants’ schedule will likely require the Court to decide preliminary
  injunction motions for most (if not all) Defendants without notice as they receive FDA approval.

         Defendants incorrectly claim that ARI has moved “without urgency” in bringing this case.
  Not so. ARI began receiving notice letters for the ’565 patent in early June; however, ARI
  continued to receive notice letters until late June, with the last notice letter of the first wave being
  dated June 27, 2024.4 Yet, after ARI began to receive notice letters, ARI prepared and filed 14
  complaints against 14 distinct defendant groups in just over a month.5 Moreover, ARI took just
  over two weeks to file these complaints after receiving the final notice letter. Far from delaying,
  ARI has moved as efficiently as possible given the large number of Defendants in these actions.6


  3
    Despite Defendants’ suggestion to the contrary (see infra at n.10), the goal dates for Defendants’
  ANDAs provide the latest date by which FDA must take action on the ANDA. See
  https://www.fda.gov/industry/generic-drug-user-fee-amendments/gdufa-ii-submission-
  review#:~:text=Original%20ANDAs&text=Within%2010%20months%20of%20submission%20
  date.&text=Within%208%20months%2C%20provided%20the,* (listing the goal date for
  “Standard Original ANDAs” as “[w]ithin 10 months of submission date”) (emphasis added).
  Meaning the FDA could take action on Defendants’ ANDAs anytime on or before that date.
  4
      Defendant Eugia’s notice letter was not received until early August and is dated August 5, 2024.
  5
    In fact, ARI filed its complaints well within 45 days of receiving each notice letter as would be
  required to enact the 30-month stay of FDA approval, despite the stay not being available. See 21
  U.S.C. § 355(c)(3)(C).
  6
    For the first time on October 24, 2024 when providing their position for this letter, Defendants
  raised concerns that ARI has not circulated a Joint Discovery Plan. The parties have been engaged
  in negotiations for over two months, yet this is the first time Defendants have expressed a desire
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  Finally, ARI notified Defendants about the additional patent it seeks to assert merely two days
  after ARI received the notice of allowance, not “weeks” as Defendants now claim. See Ex. D
  (Notice of Allowance); Ex. E (Oct. 11, 2024 Email from R. Conkin to Defendants).

          The Court is well within its authority to order an expedited schedule. “[D]istrict courts have
  the inherent authority to manage their dockets and courtrooms with a view toward the efficient and
  expedient resolution of cases.” Dietz v. Bouldin, 579 U.S. 40, 47 (2016). Furthermore, L. Pat. R.
  1.3 states “[t]he Court may modify the obligations or deadlines set forth in these Local Patent
  Rules based on the circumstances of any particular case, including, without limitation, the
  simplicity or complexity of the case as shown by the patents, claims, products, or parties involved.
  Such modifications shall, in most cases, be made at the initial Scheduling Conference.” (emphasis
  added). The circumstances here warrant an expedited schedule.

         B.      Deadlines regarding any potential preliminary injunction briefing are
                 warranted

          In addition to the expedited schedule, and given that Defendants will not agree to any
  advance notice of an at-risk launch, certain deadlines related to any potential preliminary
  injunction briefing are warranted in an effort to efficiently proceed should a preliminary injunction
  motion be necessary. Specifically, ARI proposes the following deadlines:

        On November 1, each Defendant group will indicate whether they will agree not to launch
         at risk until this Court’s decision or otherwise agree to provide 60-day notice prior to any
         at-risk launch.

        On November 15 (or a date convenient for the Court), we will ask that the Court hold a
         status conference to discuss an orderly preliminary injunction briefing schedule for any
         Defendant group who does not agree to the request above.

        On November 8, the parties will submit a joint letter to the Court concerning the issues to
         be discussed at the November 15 status conference regarding the need for preliminary
         injunction briefing, and which Defendant groups will be participating in preliminary
         injunction motion practice.

           Should preliminary injunction motions be necessary, the deadlines above will minimize
  the burden on the Court and allow the motions proceed in an organized and efficient manner. As
  above, this is well within the Court’s authority to manage its docket. See Dietz, 579 U.S. at 47. In
  fact, courts in this District have previously entered scheduling orders with similar deadlines to
  avoid unnecessary adjudication by permitting defendants willing to commit to not launching at
  risk to opt out of the briefing associated with a preliminary injunction motion. See Otsuka Pharma

  to engage in discussions of discovery-related issues. Nonetheless, ARI will circulate a proposed
  Joint Discovery Plan as soon as possible.
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  Co., Ltd. v. Torrent Pharms. Ltd., Inc., C.A. No. 14-cv-01078, ECF No. 76 (D.N.J. March 17,
  2015); see also Medeva Pharma Suisse A.G. v. Roxane Lab’ys, Inc., C.A. No. 07-cv-5165, ECF
  No. 119 (D.N.J. Nov. 30, 2009) (ordering defendants to provide notice of launch at risk, finding
  that “issuing this requirement is within [the Court’s] sound discretion to manage matters of docket
  control and scheduling (Alaska v. Boise Cascade Corp., 685 F. 2d 810, 817 (3d Cir. 1982))”).

         C.      These actions are separate and distinct from the co-pending litigation
                 regarding ARI’s Tralement® and Multrys®

          During the parties’ September 26 meet and confer, Defendants indicated that they believe
  the schedule in these matters (which involve Selenious Acid) should mirror the schedule in
  separate co-pending matters regarding entirely different products (ARI’s Tralement® and Multrys®
  drug products).7 The Tralement® and Multrys® matters are also Hatch-Waxman actions; however,
  they involve separate ANDAs filed by six defendants seeking approval for generic versions of
  ARI’s Tralement® and Multrys® products. The Tralement® and Multrys® matters involve three
  patents, only one of which (U.S. Patent No. 11,998,565) is at issue in these cases. Other than that
  minor overlap, the Tralement®/Multrys® and these Selenious Acid matters involve different
  branded products, different ANDAs, and multiple different defendants.

           Most importantly, the Tralement® and Multrys® cases do have a 30-month stay, so there is
  no risk for injunction practice currently, unlike these Selenious Acid cases. Defendants’ attempt
  to conflate these Selenious Acid actions with the Tralement® and Multrys® matters is not practical,
  is not warranted, and prejudices ARI. Specifically, consolidating the schedule in these matters with
  the schedule entered in the Tralement®/Multrys® matters hinders the Court’s ability to
  expeditiously try these cases, which, as explained above, virtually guarantees the need for
  preliminary injunction motions so that ARI can prevent significant and irreparable harm. Because
  all of the Tralement® and Multrys® matters are subject to a 30-month stay of FDA approval, unlike
  these cases, the slower schedule in the Tralement® and Multrys® matters does not risk irreparable
  harm to ARI and does not pose the same risk of burdening the Court with preliminary injunction
  motions. That is not so for these cases.

           Defendants claim that trying the Selenious Acid matters on an expedited schedule “will
  result in significant inefficiencies and multiple trials on the same subject matter.” See infra Section
  II.C. But it is the opposite. Five of the six Tralement®/Multrys® defendants are also Selenious Acid
  defendants. Thus, trying the validity of the ’565 patent on an expedited schedule would streamline
  any trial in Tralement®/Multrys®, where the only remaining issues regarding the ’565 patent would
  be infringement. The same analysis applies to ARI’s newly issued patent. See Ex. D. Should ARI
  seek to add it to the Tralement®/Multrys® litigation, trying the validity of that patent in the

  7
    See American Regent, Inc. v. Somerset Therapeutics, LLC, No. 2:24-cv-01022-BRM-CLW
  (consolidated); American Regent, Inc. v. Gland Pharma Ltd., No. 2:24-cv-07756-BRM-CLW;
  American Regent, Inc. v. Cipla USA, Inc., No. 2:24-cv-08435-BRM-CLW; see American Regent,
  Inc. v. Accord Healthcare, Inc., No. 2:24-cv-09600-BRM-CLW.
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  Selenious Acid matters on an expedited schedule only streamlines the issues to be tried in the
  Tralement®/Multrys® matters.

  III.   Defendants’ Position8

         A.      An expedited schedule is not justified

          ARI originally proposed a schedule setting trial in August 2025, cascading impossibly tight
  deadlines and omitting rounds of expert reports under the guise of a potential preliminary
  injunction threat. See ECF No. 18-1. ARI now seeks to add a second—allowed, but unissued—
  patent to the case, and offers an updated schedule that postpones the trial by merely a month (in
  early September 2025). ARI’s new schedule is even less realistic than its original schedule, for the
  reasons described below. Ultimately, ARI threatens preliminary injunction proceedings regardless
  of the pace of the schedule, so it makes no sense to use a schedule that is so rushed that it
  jeopardizes the Court’s ability to effectively resolve the issues.

          ARI’s rushed schedule—which requires a trial in just over ten months, despite attempting
  to add yet another patent to the schedule (which has yet to even issue)—serves no purpose,
  decreases judicial efficiency, unnecessarily burdens Defendants, stifles proper fact discovery,
  undermines proper expert discovery and does not avoid the potential for injunction proceedings
  that ARI so emphasizes. On the contrary, despite proposing a rushed schedule, ARI nonetheless
  admits that it “will need to seek a preliminary injunction against all Defendants that are not subject
  to a 30-month stay,” irrespective of whether its truncated schedule is entered. See Section II.A.

          ARI’s proposed schedule, though abridged, still does not guarantee that preliminary
  injunction proceedings will be averted. This is because at least some of Defendants’ ANDAs were
  on file by June 2024, and FDA represents that it will take its initial action—which may include
  final approval—ten months after submission of the ANDA.9 Ten months from June 2024 is April
  2025, which is months before ARI’s proposed September 2025 trial date.


  8
    Defendant Fresenius Kabi USA, LLC does not join Defendants in the above-captioned matters
  with respect to this joint letter given its pending pre-motion letter regarding Fresenius’ anticipated
  motion to dismiss. See Fresenius’ Pre-motion Letter, American Regent, Inc. v. Fresenius Kabi
  USA, LLC, No. 2:24-cv-07801-BRM-CLW (D.N.J. Sept. 3, 2024), ECF No. 12. Due to the nature
  of Fresenius’ request and anticipated motion, it is respectfully submitted that Fresenius is unable
  to join in this letter or otherwise proceed with scheduling or substantive issues until the issues
  raised in the pre-motion letter are resolved.
  9
     These representations are referred to as goal dates, or “GDUFA” dates. See, e.g.,
  https://www.fda.gov/industry/generic-drug-user-fee-amendments/gdufa-ii-submission-
  review#:~:text=Original%20ANDAs&text=Within%2010%20months%20of%20submission%20
  date.&text=Within%208%20months%2C%20provided%20the,*.
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          ARI is aware of the status of each of Defendants’ ANDAs, including when each
  Defendant’s ANDA will be eligible for final approval. 10 Importantly, although ARI is in
  possession of this information, the Defendants are not aware of the status of each other’s ANDAs,
  as the Defendants are competitors and this information is confidential. Because the circumstances
  of each Defendant’s ANDA approval status are different and dependent on the contents of each
  Defendant’s ANDA, the logistics of any potential preliminary injunction proceedings should be
  dealt with on a Defendant-by-Defendant basis, separate from the case schedule. See Section III.B,
  infra.

           ARI cites to a similar schedule set in the Sumitomo case, which ARI posits has “similar
  positioning” (see Section II.A). This is incorrect. Sumitomo was a unique situation where full
  litigation had already occurred on the drug at issue, and an accelerated schedule was entered to
  litigate only the second-wave method of treatment patents before a permanent injunction from the
  original litigation was set to expire. See, e.g., Sumitomo, C.A. No. 18-cv-02065, ECF No. 8 (D.N.J.
  Mar. 20, 2018) at 1. Consequently, Sumitomo was able to avoid preliminary injunction
  proceedings.11

           Additionally, ARI seeks expedited relief from this Court without moving with urgency
  itself. First, the Orange Book indicates that the patent at issue in this case, U.S. Patent No.
  11,998,565 (the “’565 patent”), was submitted to FDA for ARI’s selenious acid product on June
  7, 2024. The Complaints in this case reveal that ARI received Notice Letters dated as early as June
  10, 2024. Yet ARI waited until July 16, 2024, before bringing suit, despite knowing at that time
  that most ANDA applicants were not subject to a 30-month stay. Then it waited approximately
  another six weeks before proposing a schedule, while demanding that the thirteen Defendant
  groups respond less than two business days later and before some Defendants had even answered
  the Complaint. ARI also delayed weeks after the parties met and conferred before providing its
  draft portions of this letter, its revised schedule, telling Defendants it is receiving another patent it
  plans to assert in this action, and providing yet another revised schedule.12 Thus, it has been 4.5
  months since ARI received Defendants’ notice letters, and ARI has hindered resolution on the
  parties’ schedule negotiations with its shifting positions. Moreover, at the time ARI circulated its
  proposed schedule, it failed to circulate a Joint Discovery Plan—and has not circulated a Joint
  Discovery Plan to date. Thus, the parties have not even begun to discuss any discovery-related

  10
     ARI’s representation that Defendants’ ANDA approvals “may happen at any time” (see Section
  II.A) is therefore disingenuous, because no Defendant currently has a goal date that allows FDA
  to immediately approve its ANDA.
  11
     The trial was set for December 2018, and the injunction was set to expire in January 2019. Id.;
  see also Sumitomo, C.A. No. 18-cv-02065, ECF No. 25 (D.N.J. Apr. 19, 2018). All parties
  ultimately settled before trial.
  12
    ARI’s attempt to add another patent to this case—yet largely maintain its rushed schedule—
  further demonstrates the inappropriateness of ARI’s proposed schedule.
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  issues. Yet, ARI now seeks to have trial in approximately 10.5 months. ARI should not be
  permitted to run both this Court and Defendants ragged when it has gone about this case in a
  leisurely manner to this point.13

          While Defendants agree that district courts have the authority to manage their dockets
  efficiently, the best way to conserve judicial resources is by adopting Defendants’ schedule, which
  proposes aligning this case’s schedule with the Tralement®/Multrys® litigation involving
  overlapping patents, as described in Section III.C, infra.

         B.      Deadlines regarding any at-risk launch notice are not warranted

          ARI’s request that the Court order Defendants to reveal highly confidential, Defendant-
  specific competitive information on ARI-s one-size-fits-all timeline should be rejected. These
  arbitrary deadlines are not appropriately part of the case schedule. Whether a Defendant’s ANDA
  is poised to receive FDA approval, whether a Defendant ultimately decides to launch at-risk, and
  whether a Defendant agrees to give advance notice of any such launch to ARI and/or the Court are
  all Defendant-specific questions, depending on the specific technical contents of each Defendant’s
  ANDA. Defendants may not even know by ARI’s arbitrary dates—occurring just weeks away—
  whether they intend to launch their respective products upon obtaining FDA approval. Defendants
  should not be forced to make premature decisions, and ARI’s attempt to build additional
  requirements into the case schedule is inappropriate.14

          In any event, Defendants are under no legal, statutory, contractual, or regulatory obligation
  to notify ARI of an intended at-risk launch. Neither the local rules nor federal rules contemplate
  any such obligation. See Hoffmann-La Roche Inc. v. Teva Pharms. USA, Inc., No. 11-3635, ECF
  No. 124, at 1 (D.N.J. Feb. 5, 2013) (“Although this Court recognizes that it has discretion to
  manage its docket, the Court finds that Teva has no obligation to provide notice of its intent to
  launch its generic version of Xeloda® at risk – which is indisputably confidential, sensitive
  business information. . . . Further, the Court is not persuaded by Roche’s arguments that the Court
  has the authority to order advance notice of its intent to launch in the absence of an agreement by
  Teva.”); AstraZeneca LP v. Breath Ltd., No. 08-1512, ECF No. 86, at 2-3 (D.N.J. Sept. 8, 2009)
  (“AstraZeneca’s letter application, in which it sought to have the Court enter an order directing
  that Defendant Breath Limited (“Breath”) be ordered to provide advance notice of any anticipated
  launch of, or any launch plans concerning, its proposed budesonide inhalation suspension products

  13
    Indeed, if ARI truly wished to expedite this case due to a need for a preliminary injunction, there
  are many things it could have done, such as producing documents that it would need to justify a
  preliminary injunction, including its commercial documents supporting any claim of irreparable
  harm. Again, it has chosen not to do so.
  14
     Additionally, Defendant Eugia notes that these Plaintiff’s proposed deadlines should not apply
  to Eugia irrespective of the other Defendants given the statutory 30-month stay applicable to Eugia.
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  that are the subject of this litigation, is denied for the reasons set forth in the record of these
  proceedings, including because the Court does not believe it has legal authority to grant such
  relief.”). Even ARI’s case law “observed the principle that the generic defendants would not be
  required to provide notice of intent to launch at risk.” Otsuka Pharm. Co., Ltd. v. Torrent Pharms.
  Ltd., Inc., 99 F. Supp. 3d 461, 471-72 (D.N.J. 2015).

          ARI’s request goes beyond asking the Court to manage its docket and invades the
  competitive commercial market.15 Other courts have recognized that adopting deadlines like ARI
  requests here “should not [be] lightly order[ed]” because it may harm Defendants’ business
  interests by forcing them to reveal sensitive commercial strategies to competitors, including ARI
  and other Defendants, which may dissuade investors and stakeholders thereby damaging
  Defendants competitive position. Allergan, Inc. v. Teva Pharms. USA, Inc., No. 2:15-CV-1455-
  WCB, 2017 U.S. Dist. LEXIS 136445, at *8-11 (E.D. Tex. Aug. 25, 2017) (“While recognizing
  that the Court's jurisdiction may extend to matters such as orders for advance notice of launch
  plans, the Court is cognizant of the prudential limitations on the exercise of that jurisdiction.
  Launch dates are highly confidential and important commercial information. The Court should not
  lightly order parties to disclose such information to their competitors. Additionally, it could
  dissuade investors and stakeholders, damaging Defendants’ market position and undermining
  research and development efforts.”).

         Finally, if the Court were to grant ARI’s proposal, it would force Defendants who may be
  merely contemplating a launch, when or if they obtain FDA approval, to expend fees and costs of
  defending a preliminary injunction motion before the issue is ripe. Suppose a Defendant does not
  obtain FDA approval or is contemplating a possible launch upon approval but ultimately decides
  against it. Under ARI’s approach, the Defendant would have been forced to spend valuable
  resources defending against an unnecessary motion causing further competitive damage due to
  wasteful allocation of time and resources.

          ARI has provided the Court no reason to disregard Defendants’ commercial interests in
  this case; its request should be denied.

         C.      These Actions significantly overlap with the co-pending litigation related to
                 Tralement® and Multrys®

          In order to promote party and judicial efficiency, Defendants have proposed a schedule
  under which the instant case catches up to and aligns with the schedule that has been set in the
  preceding Tralement® and Multrys® case. See Case No. 24-cv-1022-BRM-CLW (Consolidated)
  at ECF No. 38. This is already quicker than a normal Hatch-Waxman schedule, and it offers the
  benefits of coordinating litigation on the same patent and subject matter, instead of duplicating the

  15
    Notably, Defendants are already obligated by this Court to give notice of any FDA decision
  concerning ANDA approval. See L.P. R. 3.6(j)(requiring that defendants produce correspondence
  with FDA to plaintiffs within seven days of receipt).
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 Court’s and the parties’ efforts. ARI’s proposed schedule, on the other hand, will result in
 significant inefficiencies and multiple trials on the same subject matter, and it should be rejected.

         This case currently involves a single patent—the ’565 patent—which is already being
 litigated in the co-pending Tralement® and Multrys® litigation. ARI primarily focuses on the
 unremarkable point that the instant cases and the co-pending Tralement® and Multrys® cases
 involve different ANDAs, different products, and some non-overlapping defendants. But ARI only
 pays mere lip service to numerous similarities between the cases, the most salient of which being
 that both sets of cases involve the ’565 patent. A significant portion of each case will involve
 invalidity of the ’565 patent, which does not depend on the ANDAs or accused products involved
 in each case. In addition, ARI has indicated that it wishes to add its new patent to this action, and
 the Tralement Defendants also in this case expect that ARI will also attempt to add it to the
 Tralement®/Multrys® litigation. If ARI’s new patent is added to both litigations, half of the
 asserted patents would be common across the two sets of cases.16

  Patent No.                  Asserted in                         Asserted in the instant
                              Tralement®/Multrys® cases?          matters?
  11,786,548                  Yes                                 No
  11,975,022                  Yes                                 No
  11,998,565                  Yes                                 Yes
  App. No. 18/672,876         Expected to be requested to be      Requested to be added
                              added

          While ARI notes that there are two other patents in the Tralement®/Multrys® litigation
 (U.S. Patent Nos. 11,786,548 and 11,975,022) that are not in this case, these patents are related
 patents from the same patent family and claim priority back to the same provisional application.17
 Accordingly, there is significant overlap in prior art and invalidity arguments across both
 litigations.

         While ARI points out that there are some different defendants involved in the various cases,
 they fail to meaningfully address that there are five defendants involved in both sets of cases:
 Somerset, RK Pharma, Cipla, Gland, and Accord. For at least those defendants (not to mention the
 Court), under ARI’s proposal, they face the unfair and inefficient prospect of having to litigate and
 decide the validity of the same patents in different cases and on different schedules.

         The only other distinction ARI points to is the status of 30-month stays and the risk of
 potential preliminary injunction proceedings. But, as explained above, ARI’s proposed schedule

 16
   ARI is continuing to prosecute continuation applications as well and the possibility exists that
 yet additional overlapping patents will be asserted in each case.
 17
  Specifically, U.S. Patent No. 11,786,548 is the parent to both the ’565 patent and U.S. Patent
 No. 11,975,022.
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 does not alleviate the potential for preliminary injunction proceedings, thus rendering this a
 distinction without a difference. The most efficient course is the one charted by Defendants to
 align the schedule in this case with the Tralement® and Multrys® cases so that all the cases may
 proceed in an orderly and efficient manner.



                                        *        *      *

        The parties are happy to provide additional information regarding the above issues should
 the Court so desire.

                                                     Respectfully submitted,


                                                     s/Charles H. Chevalier
                                                     Charles H. Chevalier



 cc:    Counsel of Record (via ECF and e-mail)
